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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION


  DAWN HARDIN and
  HARRY HARDIN,

        Plaintiffs,
                                                      3:18-cv-00052-RLY-MPB
  v.

  FELDMAN & STERN, LLC,

       Defendant.


                          PROPOSED DEFAULT JUDGMENT ORDER

       1.      Judgment by default is entered in favor of Plaintiffs, DAWN HARDIN and

 HARRY HARDIN, and against Defendant, FELDMAN & STERN, LLC, as follows:

               a. Statutory Damages                               $ 3,000.00

               b. Attorney fees                                   $ 2,600.50

               c. Costs                                           $ 485.00

       2.      Allowing judgment interest to be added per diem.


 Dated: _______________, 2018

                                           Entered:

                                           /s/ __________________________________
